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  6   Trustee in Bankruptcy

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  8                             UNITED STATES BANKRUPTCY COURT

  9                              NORTHERN DISTRICT OF CALIFORNIA

 10                                        SAN JOSE DIVISION

 11   In re                                             Case No. 21-50028 SLJ
                                                        Chapter 7
 12           EVANDER FRANK KANE,                       Hon. Stephen L. Johnson

 13                  Debtor.                            MOTION TO ABANDON ESTATE’S
                                                        RIGHT, TITLE, AND INTEREST IN
 14                                                     STATE COURT LITIGATION
                                                        COUNTERCLAIM
 15
                                                        [No Hearing Required Unless Requested]
 16

 17           Fred Hjelmeset, Trustee in Bankruptcy of the estate of the above-named estate, hereby

 18   moves the Court for an order authorizing him to abandon the estate’s counterclaim in that certain

 19   litigation entitled Kuechle v. Kane, pending in the State of New York Supreme Court, County of

 20   Erie, Index No. 807030/2016, as more thoroughly described in the Notice and Opportunity for

 21   Hearing on Motion to Abandon Estate’s Right, Title, and Interest in State Court Litigation

 22   Counterclaim (“Notice”) filed herewith. A copy of the Notice is attached hereto as Exhibit A and

 23   is incorporated by reference.

 24    DATED: January 19, 2022              RINCON LAW LLP
 25
                                            By: /s/ Gregg S. Kleiner
 26                                             GREGG S. KLEINER
                                                Counsel for FRED HJELMESET,
 27
                                                Trustee in Bankruptcy
 28

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                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
In re                                                 Case No. 21-50028 SLJ
                                                      Chapter 7
         EVANDER FRANK KANE,                          Hon. Stephen L. Johnson

               Debtor.                                NOTICE AND OPPORTUNITY FOR HEARING ON
                                                      MOTION TO ABANDON ESTATE’S RIGHT, TITLE,
                                                      AND INTEREST IN STATE COURT LITIGATION
                                                      COUNTERCLAIM

                                                      [No Hearing Required Unless Requested]

TO CREDITORS, THE UNITED STATES TRUSTEE AND OTHER PARTIES-IN-INTEREST:

PLEASE TAKE NOTICE THAT Fred Hjelmeset, Chapter 7 Trustee (“Trustee”) of the bankruptcy estate of
Evander Frank Kane (“Debtor”), has filed a motion seeking Bankruptcy Court authorization to abandon the
estate’s counterclaim in that certain litigation entitled Kuechle v. Kane, pending in the State of New York Supreme
Court, County of Erie, Index No. 807030/2016 (“Litigation”). After the Litigation was filed in 2016, the Debtor
filed an answer and a counterclaim. The counterclaim asserts, among other things, claims against the plaintiff that
statements made by her with regard to the Debtor were false and defamatory, libel per se and slander per se
(“Counterclaim”). The Debtor is seeking unspecified damages against the plaintiff arising out of the
Counterclaim. The Trustee has evaluated the Counterclaim and has concluded that, while it may be a viable claim
for the Debtor to pursue against the plaintiff, it is not a viable claim for the estate to pursue and has little or no
economic value to the estate. In sum, the Trustee believes the Counterclaim has no value to the estate.

Section 554 of the Bankruptcy Code provides that the Trustee may abandon property of the estate if it is of
inconsequential value to the estate or a burden to the estate. The Trustee has concluded that the Counterclaim is
burdensome to the estate and of inconsequential value to the estate and, herein, seek authority to abandon it.

PLEASE TAKE NOTICE THAT due to the shelter in place requirements caused by the COVID-19 pandemic,
all appearances will be by telephone, or, in the Court’s sole discretion, by video conference. Instructions on how
to file opposition, if any, and how to appear by phone are contained provided at the following link on the Court’s
website https://www.canb.uscourts.gov/content/page/court-operations-during-covid-19-outbreak and further
detailed in the Court’s Eighth Amended General Order 38, effective December 1, 2021.

Information regarding Clerk’s office Intake Counter hours of public operation, the electronic submission of
documents, mailing addresses and the location of drop-boxes is available on the Court’s website home page under
the banner “Court Operations during the COVID-19 Outbreak Information about Hearings, Filings, and
Operations”: https://www.canb.uscourts.gov/content/page/court-operations-during-covid-19-outbreak.

ECF Registered Participants must continue to file all documents electronically. All other parties may submit
documents for filing by mail, electronically via the Court’s website, in designated drop-box locations or at the
Clerk’s office Intake Counter during the posted hours of public operation. Filing fee payments (no cash) may be
submitted electronically, by mail or drop-box, or at the Clerk’s office Intake Counter during the posted hours of
public operation.

In-person hearings may be held in the sole discretion of the presiding judge and in accordance with practices and
procedures adopted by each judge. No judge is required to conduct in-person hearings. Each judge will publish
their practices and procedures for in-person hearings on their page on the court’s website. All counsel, parties and
other interested persons shall consult each judge’s practices and procedures for in-person hearings (to be
published on each judge’s page on the court’s website) for information concerning whether a given hearing or
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                                                                                                 EXHIBIT A
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calendar will be conducted in-person and for other relevant instructions. All counsel, parties, and other interested
persons shall comply with each judge’s practices and procedures concerning in person hearings. Any failure to
comply with such practices and procedures may result in the imposition of sanctions.

Unless otherwise instructed by the presiding judge in their practices and procedures concerning in-person hearings
adopted pursuant to this order, all notices of any motion or application filed with the Court and served on any
party which sets a hearing date for the motion or application must state that the hearing will not be conducted in
the presiding judge’s courtroom but instead will be conducted by telephone or video, and include the following
language: “All interested parties should consult the Bankruptcy Court’s website at www.canb.uscourts.gov for
information about Court operations during the COVID-19 pandemic. The Bankruptcy Court’s website provides
information regarding how to arrange a telephonic or video appearance. If you have any questions regarding how
to appear at a court hearing, you may contact the Bankruptcy Court by calling 888-821-7606 or by using the Live
Chat feature on the Bankruptcy Court’s website.”

PLEASE TAKE FURTHER NOTICE THAT Local Rule 9014-1 of the United States Bankruptcy Court for
the Northern District of California prescribes the procedures to be followed with respect to any objection to the
proposed abandonment or any request for hearing thereon.

Any objection to the requested relief, or a request for hearing on the matter, must be filed and served upon
the initiating party within 21 days of mailing the notice;

Any objection or request for a hearing must be accompanied by any declarations or memoranda of law
any requesting party wishes to present in support of its position;

If there is no timely objection to the requested relief or a request for hearing, the court may enter an order
granting the relief by default; and

In the event of a timely objection or request for hearing, the initiating party will give at least seven days’
written notice of the hearing to the objecting or requesting party, and to any trustee or committee
appointed in the case.

PLEASE TAKE FURTHER NOTICE THAT as of January 1, 2005, the United States Bankruptcy Court for
the Northern District of California has adopted mandatory electronic filing. If you are not currently qualified to
file papers with the Court electronically, you should consult the Court’s website (www.canb.uscourts.gov).

 DATED: January 19, 2022                RINCON LAW LLP



                                        By: /s/ Gregg S. Kleiner
                                            GREGG S. KLEINER
                                            Counsel for FRED HJELMESET, Trustee in Bankruptcy

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